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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------ x

PETERSEN ENERGÍA INVERSORA,         :
S.A.U. AND PETERSEN ENERGÍA,        :   Case Nos.
S.A.U.,                             :   1:15-cv-02739-LAP
                                    :   1:16-cv-08569-LAP
                    Plaintiffs,
                                    :
               v.                   :
                                    :
ARGENTINE REPUBLIC AND YPF          :
S.A.,                               :
                  Defendants.       :
                                    :
------------------------------ x
ETON PARK CAPITAL                   :
MANAGEMENT, L.P., ETON PARK         :
MASTER FUND, LTD. AND ETON          :
                                    :
PARK FUND, L.P.,
                                    :
                                    :
                      Plaintiffs,
                                    :
                 v.                 :
                                    :
ARGENTINE REPUBLIC AND YPF          :
S.A.,                               :
                                    :
                  Defendants.
------------------------------ x




                    MEMORANDUM OF LAW IN SUPPORT OF
             DEFENDANT YPF S.A.’S MOTION FOR SUMMARY JUDGMENT




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       Defendant YPF S.A. (“YPF” or the “Company”), by and through its undersigned counsel,

respectfully submits this memorandum of law in support of its motions for summary judgment

dismissing the above-captioned actions against it in their entirety pursuant to Fed. R. Civ. P. 56.

                                PRELIMINARY STATEMENT

       In these cases, two of YPF’s former minority investors seek up to $20 billion in alleged

damages—70% of which would be paid to the litigation investor, Burford Capital LLC

(“Burford”)—because YPF’s co-defendant, the Republic of Argentina (the “Republic”),

intervened in YPF and temporarily occupied the 51% of YPF’s capital stock held by Repsol S.A.

(“Repsol”) and declared it subject to expropriation without making a tender offer to buy out

Plaintiffs’ interests in YPF. Plaintiffs allege that as the corporation whose securities and

corporate bylaws were at issue, YPF can be held financially responsible for the Republic’s

alleged failure to make a tender offer. In short, Plaintiffs’ claim against YPF is a claim that the

Company is liable to pay damages to two former investors because another of its investors—a

sovereign nation—did not make an offer to buy them out.

       That claim has no basis in the Bylaws1 or Argentine law. YPF is the issuer of the shares

subject to expropriation, and the target of the alleged takeover, but it had no obligations to

minority investors like Plaintiffs to make, enforce, or compel a tender offer, or to impose

penalties or otherwise intercede in the disputed actions. The Company is not responsible for its

investors’ actions—in this case, the actions of the Republic—and does not guaranty its investors’

financial expectations. After extensive discovery, summary judgment for YPF is warranted

because Plaintiffs still cannot establish the most rudimentary elements of their claim: that YPF

had a contractual obligation to Plaintiffs or that any conduct or inaction by YPF caused their


1
    All references to the “Bylaws” refer to Exhibit 1 to the Declaration of Mark P. Goodman.




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alleged damages. It would be wholly unprecedented and a complete inversion of core concepts

of both Argentine corporate and Argentine contract law to hold the Company liable for billions

of dollars because one of its investors intervened in and sought to expropriate a stake in the

Company without offering to buy out the others.

       As this Court has recognized, the key question regarding Plaintiffs’ claims of an

obligation on the part of YPF is “what do the bylaws say[?]” Ex. 26 (ECF No. 612 (“MTD Tr.”))

at 15:7 (emphasis added).3 The answer is now beyond dispute: the Bylaws say nothing that

provides any cognizable basis to hold YPF liable here. Plaintiffs cannot point to a single

provision in the Bylaws or Argentine law that imposes any of the obligations they seek to enforce

on YPF, and their experts have conceded in testimony that no such obligation can be found in the

text of the Bylaws or any relevant statute.

       Plaintiffs rely on the Bylaws’ tender offer provisions, which provide that in certain

circumstances a shareholder who acquires more than a certain set percentage of YPF’s Class D

shares or capital stock must conduct a tender offer on specified terms. It is undisputed that YPF

itself had no obligation to conduct a tender offer. Instead, Plaintiffs claim that YPF had

obligations (i) to “enforce” the tender offer provisions of Sections 7 and 28 of the Bylaws by

somehow compelling the Republic to make an offer for all of YPF’s shares after the Republic

had concluded that it was not required to do so, and (ii) to prevent the Republic under Section

7(h) of the Bylaws from exercising the voting and other corporate governance powers associated




2
    All references to “ECF No.” refer to filings in Case No. 1:15-CV-02739.
3
    “Ex.” refers to the Exhibits attached to the Declaration of Mark P. Goodman filed herewith.

                                                 2

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with the shares that were temporarily occupied and subject to expropriation in the absence of a

tender offer.4

       Looking at “what the Bylaws say,” there can be no question that the obligations Plaintiffs

assert do not appear in the document they seek to enforce. Under the Bylaws, it is the “Bidder”

who wishes to conduct a “Takeover” of YPF shares or securities who must make a tender offer—

not YPF. Any tender offer obligations in Sections 7 or 28 apply, respectively, only to such a

“Bidder” and to the “National Government,” not to YPF. The Company must provide “notice”

of a bid to its shareholders if it receives one, but it has no express or implied obligation to

compel an acquirer to make a tender offer and makes no guaranty that its investors will receive

one. Nor does it have any express or implied obligation to impose penalties or take action if an

acquirer conducts a “Takeover” without making such an offer. Plaintiffs attempt to locate such

an obligation in Section 7(h), but that provision imposes no duty or obligation on YPF to prevent

the voting of shares or the exercise of other shareholder rights by the Republic, and that notion

has no basis in the governing Argentine law, or in the Bylaws. Under applicable Argentine law,

it is up to the shareholders—not YPF—to object and seek relief if an acquirer attempts to

exercise rights associated with shares in violation of Section 7(h). Plaintiffs did neither.

       In light of the complete lack of textual support for their claims, Plaintiffs appear poised to

argue through their experts that a corporation (i) has an implicit duty to enforce requirements that

its bylaws explicitly impose on others, (ii) has a generalized obligation to enforce all of the terms

of its bylaws, regardless of to whom they apply, and (iii) stands in the shoes of all parties to its

bylaws with respect to their obligations and incurs derivative contractual liability for money


4
    Ex. 43 (ECF No. 1 (“Petersen Complaint”)) at ¶¶ 71, 76; Ex. 44 (E.P. ECF No. 1 (“Eton
    Park Complaint”)) at ¶¶ 64, 69. All references to “E.P. ECF No.” refer to filings in Case
    No. 1:16-CV-8569.

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damages arising from any failure of any of the parties to perform. As one of Plaintiffs’ experts

explained Plaintiffs’ theory, “any liability on the part of YPF is due to the Republic of Argentina

disregarding the Bylaws of YPF.” Ex. 32 (Dep. Tr. of Alfredo Rovira (“Rovira Tr.”) at 128:22–

25. None of these theories is consistent with the causes of action Plaintiffs purport to advance,

and all are utterly without legal basis. No such corporate obligations exist under Argentine law,

and certainly not in the form of obligations enforceable against a company in an action for

money damages, like this one. These generalized and unsupported notions neither identify nor

create any obligation to Plaintiffs by YPF, and cannot salvage their claims.

       Plaintiffs also cannot establish causation as to YPF and their inability to do so

independently warrants dismissal. Even if the Bylaws could be considered a contract

enforceable against YPF in a claim for money damages, as Plaintiffs argue, and even if YPF did

have the two obligations that Plaintiffs allege, Plaintiffs’ claims would still fail because Plaintiffs

cannot establish the causal connection between their claimed damages and YPF’s purported

breach required under Argentine law. See Ex. 27 (Kemelmajer Rebuttal Rep.) at ¶¶ 58, 60; Ex.

65 (Kemelmajer Reply Rep.) at ¶ 33(b). On the undisputed facts, Plaintiffs cannot possibly

demonstrate that any action or inaction by YPF caused their purported damages; they insist that

their alleged damages arise from the absence of a tender offer by the Republic and not from any

action that YPF took or could have taken. Given the Republic’s determination in the context of

Law No. 26,741 (the “Public Interest Law”) passed by the Argentine Congress on May 3, 2012

that it was not required to conduct a tender offer, and the fact that the Public Interest Law

ordered that the Republic be permitted to vote the occupied shares, Plaintiffs cannot show that

any action by YPF caused them to not receive a tender offer or that there was anything YPF

could have done to compel such a tender offer or to prevent the occupied shares from being


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voted at the June 4, 2012 Shareholders’ meeting. See Ex. 27 (Kemelmajer Rebuttal Rep.) at ¶ 80

(“YPF had no means of forcing the Republic to offer to purchase the remaining outstanding

shares for a set price. I am not aware of any legal avenue that the Company could have taken to

compel the sovereign republic to tender to purchase shares in that way, and Plaintiffs have not

identified any.”). Nor can Plaintiffs show that—even if YPF had somehow been able to prevent

the Republic from voting the occupied shares (in violation of the Public Interest Law)—

preventing the vote would have caused the Republic to conduct a tender offer or avoided the

damages Plaintiffs claim to have suffered. As one of Plaintiffs’ experts admitted, YPF “could

not force Argentina to do anything.” Ex. 33 (Dep. Tr. of Alejandro Garro (“Garro Tr.”)) at

403:23–25.

        The lack of a duty or obligation and the inability to prove causation are two gaping holes

in Plaintiffs’ claims. Each is sufficient to warrant judgment for YPF without requiring any

further analysis by this Court. So is the fact that the Public Interest Law, passed by the

Argentine Congress on May 3, 2012, required that the Republic “exercise all of the rights

conferred upon the shares” and directed the Argentine equivalent of the U.S. Securities and

Exchange Commission, the Comisión Nacional de Valores (“CNV”), to call and preside over the

June 4 Meeting and therefore superseded the Bylaws.5 Should the Court look further, however,

it would find that Plaintiffs’ claims are comprised of a long series of equally flawed assumptions

that they also cannot prove, including that (i) the Bylaws are a bilateral contract that can give rise

to a claim for damages against the Company, (ii) YPF could have forced the Republic to make a

tender offer against its will, (iii) the Republic had the financial ability to conduct the tender offer,


5
    As discussed in Section III below, even if Sections 7(h) and 28(C) of the Bylaws were found
    to impose obligations on YPF, any such obligations would have been superseded by the
    Public Interest Law.

                                                   5

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(iv) YPF could have imposed penalties on the Republic by refusing to allow it to vote the

occupied shares at the June 4 Meeting, (v) YPF undertook an obligation as guarantor of an

acquirer’s obligation to conduct a tender offer, and (vi) any attempt by YPF to impose penalties

on the Republic would have caused the Republic to change its position and conduct a tender

offer notwithstanding its lack of financial ability to do so. Not one of those assumptions is borne

out by Plaintiffs’ experts or is consistent with the undisputed facts. Rather, the record is clear that

Plaintiffs’ attempts to use YPF as a financial backstop for its claims against the Republic rest on

wishful thinking, not Argentine law.

        Plaintiffs’ claims against YPF also fail for lack of standing under Argentine law and

because Plaintiffs’ claims are corporate in nature and inextricably tied to the YPF securities that

Plaintiffs lost to foreclosure or sold prior to filing these actions and prior to the completion of

the expropriation, as argued by the Republic. Regardless, Petersen lost standing because it sold

its claims to Burford. Despite Defendants’ objection six years ago, Burford has yet to ratify the

action as the real party in interest, and it is too late to remedy that failure now.

        On summary judgment, the Court’s remit is simple and substantive. It should consider

the Bylaws under governing Argentine law and recognize that plaintiffs in even the most

complex of cases must do the same thing as plaintiffs in any other alleged breach of contract

case: establish the existence of a duty or obligation as to each defendant and causation of their

claimed damages. Plaintiffs do neither and their claims against YPF should be dismissed. 6




6
    YPF adopts and incorporates by reference the Memorandum of Law in Support of the
    Republic’s Motion for Summary Judgment (“Republic’s Brief”) and the Republic’s Rule
    56.1 Statement of Material Undisputed Facts (“Republic SUF”) to the extent relevant to
    YPF.

                                                   6

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                                        BACKGROUND

I.     SUMMARY OF FACTS7

       Originally founded in 1922 as a state-run company, YPF is a corporation (sociedad

anónima) incorporated under the laws of Argentina. SUF ¶ 1. YPF is an energy company, and

is the largest energy producer in Argentina. Id. ¶ 1. As of December 31, 2020, the Company had

over 20,000 employees. Id. ¶ 2. Approximately fifty-one percent of the Company is owned by

the Republic and the vast majority of the remaining 49% is publicly traded, with a portion owned

by YPF’s employees. Id. ¶ 2; Ex. 2 (YPF’s 2020 Form 20-F) at 196–97. As of September 24,

2021, YPF had a market capitalization of approximately $1.78 billion, SUF ¶ 3, a fraction of the

up to nearly $20 billion in damages Plaintiffs and Burford apparently seek.

       YPF has been a publicly traded company since June 1993. Id. ¶ 6–8.8 During the

relevant period, YPF operated pursuant to the Bylaws, which include the two sections on which

Plaintiffs rely: Section 7 and Section 28. Id. ¶ 12–14; see also Ex. 1 (Bylaws). Section 7

required any person or entity seeking to acquire more than certain set percentages of YPF’s

capital stock or Class D shares (a “Bidder”) to make a tender offer for the acquisition of all YPF

shares and securities convertible into shares. SUF ¶ 12. Section 7(h), which made no reference

to any obligations of the Company, provided that any shares acquired in breach of the tender

offer provisions of Section 7 “shall not grant any right to vote or . . . be computed to determine

the presence of the quorum at any of the shareholders’ meetings of the Corporation.” Id. ¶ 13.




7
     See also YPF’s accompanying Statement of Undisputed Facts (“SUF”), filed pursuant to
     Local Rule 56.1.
8
     YPF refers to the Republic’s Brief at pages 5–6 and accompanying paragraphs of the
     Republic SUF describing Argentina’s privatization of YPF, and relevant supporting exhibits.

                                                 7

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Section 28 extended certain requirements of Section 7 to certain acquisitions of YPF securities

by the Argentine government. Id. ¶ 14.

       Beginning in 2008, Plaintiffs Petersen Energía Inversora, S.A.U. and Petersen Energía,

S.A.U. (collectively, “Petersen”) acquired YPF American Depositary Receipts (“ADRs”) from

YPF’s then-controlling shareholder, Repsol. SUF ¶ 19–23. By 2012, following a series of

highly leveraged transactions, Petersen held ADRs reflecting a beneficial interest in

approximately 25% of YPF’s Class D shares. Plaintiffs Eton Park Capital Management, L.P.,

Eton Park Master Fund, Ltd., and Eton Park Fund, L.P. (collectively, “Eton Park”, and jointly

with Petersen, the “Plaintiffs”) first acquired YPF ADRs in November 2010, and continued to

acquire them through March 2012. Id. ¶ 25–28

       On April 16, 2012, the Executive Branch issued Decree No. 530/2012 (the “Intervention

Decree”), which started an intervention (the “Intervention”) in which the powers the Bylaws

conferred on YPF’s Board of Directors and President were temporarily granted to an intervenor

appointed by the government, the Argentine Minister of Federal Planning, Public Investment and

Services, Julio De Vido (the “Intervenor”). SUF ¶ 32. The Argentine government also

introduced a bill to the Argentine Congress to have 51% of YPF’s share capital, which was held

by Repsol, declared of public interest and “subject to expropriation,” and emphasized that such

steps were necessary to promote the Republic’s national interest. Id. ¶ 33.

       The same day, the Executive Branch issued Decree No. 532/2012 appointing the

Argentine Secretary of Economic Policy and Development Planning, Axel Kicillof, as Vice-

Intervenor. Id. ¶ 34. The next day, April 17, 2012, Secretary Kicillof, speaking before

Argentine Senate committees, stated that the Republic was not required to comply with Sections

7 and 28 of the Bylaws given the substance of the proposed public interest law. SUF ¶ 35. The


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Republic never notified YPF that it intended to conduct a tender offer under Sections 7 and 28 of

the Bylaws, and never conducted such an offer at any time. Id. ¶ 44.

       On May 7, 2012, the Public Interest Law became effective, making 51% of YPF’s shares

held by Repsol “subject to expropriation” and under “temporary occupation” by the Republic.

Id. ¶ 36–37. The Public Interest Law was explicit that, as of its entry into force, the Argentine

Executive Branch “shall exercise all of the rights conferred upon the shares subject to

expropriation,” and it required the CNV to “call a shareholders’ meeting.” Id. ¶ 37. The

Republic’s expropriation of the 51% of YPF shares held by Repsol was completed on May 2014

pursuant to a settlement agreement with Repsol. Id. ¶ 48.

       The first YPF shareholders’ meeting following the Intervention and passage of the Public

Interest Law was held on June 4, 2012. SUF ¶ 39–40. Alejandro Vanoli, then-President of the

CNV, presided over that meeting as required by Article 13 of the Public Interest Law. Id. ¶ 40.

Multiple YPF shareholders objected to the Republic voting the occupied YPF shares, including

by raising express objections under Section 7(h)—but Plaintiffs were not among them. Id. ¶ 41–

42. CNV President Vanoli proceeded with the vote, having explained the requirements and

purpose of the Public Interest Law as mandating the Republic’s vote. Id. ¶ 41.

       Petersen filed for insolvency in Spain a few months later, in July 2012. SUF ¶ 49. In

Petersen’s liquidation plans, Petersen’s insolvency administrator identified as its “main asset”

certain “claims that could or should be filed against the Argentine Republic” in connection with

the expropriation; the liquidation plans did not identify claims against YPF or name it as a

guarantor of any other party’s obligations or as a potential defendant. Id. ¶ 50–51. On March 4,

2015, Petersen executed a Claim Prosecution Agreement (the “CPA”) with Prospect Investments




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LLC—a wholly-owned subsidiary of Burford—in which YPF was identified as an “Opponent”

in litigation to be prosecuted by Burford. Id. ¶ 54.

II.     PROCEDURAL HISTORY

        On April 5, 2015, a month after signing its agreement with Burford, Petersen filed suit

against both YPF and the Republic (jointly, the “Defendants”) for breach and anticipatory breach

of contract, breach of the implied duty of good faith and fair dealing, and promissory estoppel.

Petersen alleged that YPF breached supposed obligations under the Bylaws by “(1) failing to

enforce the bylaws’ tender offer provisions vis-à-vis Argentina[;] . . . (2) failing to enforce the

penalties that section 7(h) imposes on shareholders who have breached their tender offer

obligations[,]” Petersen Energía Inversora, S.A.U v. Argentine Republic, 895 F.3d 194, 210 (2d

Cir. 2018); and (3) “failing to distribute dividends to YPF’s shareholders, including Petersen.”

Petersen Energía Inversora, S.A.U. v. Argentine Republic (“MTD Order I”), No. 1:15-cv-02739-

LAP, 2016 WL 4735367, at *15 (S.D.N.Y. Sept. 9, 2016).

        Defendants objected to jurisdiction and moved to dismiss. On September 9, 2016, this

Court concluded that it had jurisdiction and that Defendants were not entitled to sovereign

immunity because the conduct at issue was commercial in nature. Id. at *5–7. The Court

granted YPF’s motion to dismiss the promissory estoppel and breach of the implied duty of good

faith and fair dealing claims, id. at *15–16, but permitted the contract claims to go forward. Id.

at *15. The Court declined to address YPF’s arguments that Plaintiffs’ claims failed for lack of

causation because they relied “on facts outside of the Complaint” that could not be considered at

the motion to dismiss stage. Id. On interlocutory appeal to the Second Circuit,9 the viability of



9
      Consistent with the collateral order doctrine, Defendants were permitted to appeal this
      Court’s denial of their motion to dismiss on sovereign immunity grounds. Petersen, 895
      F.3d at 211–12. Defendants’ other arguments for dismissal made under Rule 12(b)(6)—
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the contract claims was not at issue.10 Addressing the jurisdictional and sovereign immunity

issues, the Second Circuit accepted the Complaint’s allegations as true for purposes of its

jurisdictional analysis and found that if the Bylaws imposed obligations “to enforce the tender

offer provision triggered by Argentina’s expropriation of Repsol’s 51% ownership stake” or to

“enforce the penalties imposed by Section 7(h),” they were “commercial” rather than

“sovereign” in nature. Id. at 209–10. It affirmed this Court’s conclusion that Plaintiffs’ claims

were properly before a U.S. court, Petersen, 895 F.3d at 206, but declined to address “whether

the act of state doctrine bars Petersen’s claims,” concluding that it “is a merits determination that

turns on the facts.” Id. at 212.

       During the pendency of the appeal, Eton Park filed suit against the Republic and YPF.

Eton Park’s complaint is substantially identical to Petersen’s and also asserts claims against YPF

for breach of contract, anticipatory breach and breach of the implied covenant of good faith and

fair dealing. Ex. 44 (Eton Park Complaint) at ¶¶ 61-74.

       Defendants filed a renewed motion to dismiss the Petersen and Eton Park actions on the

basis of forum non conveniens in August 2019, which was denied on June 5, 2020. The Court

found that notwithstanding the connections to Argentina and the applicability of Argentine law,

the balance of conveniences did not favor dismissal. See generally Petersen Energía Inversora,

S.A.U. v. Argentine Republic (“MTD Order II”), Nos. 1:15-cv-02739-LAP, 1:16-cv-08569-LAP,

2020 WL 3034824 (S.D.N.Y. June 5, 2020).


     including those addressing the merits of Plaintiffs’ claims—were not immediately
     appealable and were not considered by the Second Circuit. See Id.
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     While the Second Circuit noted that “every corporation is obligated to abide by its bylaws,”
     it did not determine whether any specific obligations alleged by Plaintiffs were in fact
     imposed on YPF by the text of the Bylaws or otherwise. Petersen, 895 F.3d at 210 (citing
     Boilermakers Local 154 Ret. Fund v. Chevron Corp., 73 A.3d 934, 938-40 (Del. Ch. 2013)).

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                                           ARGUMENT

       Summary judgment should be granted when “there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); see

also Tolbert v. Smith, 790 F.3d 427, 434 (2d Cir. 2015). Once the moving party has made an

initial showing of its entitlement to judgment by “point[ing] to evidence that negates its

opponent’s claims” or “identify[ing] those portions of its opponent’s evidence that demonstrate

the absence of a genuine issue of material fact,” Salahuddin v. Goord, 467 F.3d 263, 272–73 (2d

Cir. 2006), the motion should be granted unless the non-moving party comes forward with

admissible evidence demonstrating the existence of a genuine issue of material fact that precludes

judgment. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986).

Conclusory assertions, unsubstantiated speculation, and disputes over immaterial facts are not

sufficient to defeat summary judgment. See Ellan Corp., Inc. v. Dongkwang Int’l. Co., Ltd., No.

09 Civ. 414 (LAP), 2011 WL 4343844, at *2 (S.D.N.Y. Aug. 15, 2011) (quoting Kerzer v. Kingly

Mfg., 156 F.3d 396, 400 (2d Cir. 1998)).

       The interpretation and application of foreign law is a legal question appropriate for

resolution by the Court on summary judgment. FRCP 44.1, Republic of Turkey v. Christie’s Inc.,

425 F. Supp. 3d 204, 214 (S.D.N.Y. 2019); see also Rutgerswerke AG & Frendo S.p.A. v. Abex

Corp., No. 93 CIV. 2914 JFK, 2002 WL 1203836, at *16 (S.D.N.Y. June 4, 2020). The

testimony of experts “remains the basic mode of proving foreign law,” Jonas v. Estate of Leven,

116 F. Supp. 3d 314, 330 (S.D.N.Y. 2015) (internal quotations and citations omitted), although

the Court may consider “any relevant material or source.” FRCP 44.1; see also Animal Sci.

Prods., Inc. v. Hebei Welcome Pharm. Co., Ltd., 138 S. Ct. 1865, 1873 (2018). “Disagreement

among legal experts on content, applicability, or interpretation of foreign law . . . does not create

genuine issues of material fact” and will not prevent the court from granting summary judgment.
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Rutgerswerke AG, 2002 WL 1203836, at *16; see also In re Vitamin C Antitrust Litig., 810 F.

Supp. 2d 522, 540 (E.D.N.Y. 2011) (“Disputes among experts regarding foreign law do not create

issues of fact.”).

        Here, the existence and scope of YPF’s obligations under the Bylaws is a question of law

that this Court can and should resolve at the summary judgment stage. See Law Debenture Tr.t

Co. of N.Y. v. Maverick Tube Corp., 595 F.3d 458, 468–70 (2d Cir. 2010) (affirming where the

agreement was unambiguous). Summary judgment can and should be granted for YPF based on

Argentine law, which “all agree” applies to this action. MTD Order II, 2020 WL 3034824, at *13

(“All agree that Argentine law applies to this action.”); see also Ex. 26 (MTD Tr.) at 31:4–6

(“[T]his is a merits question of Argentine law, who’s liable for what under this bylaw contract.”);

MTD Order I, 2016 WL 4735367, at *14.

I.      THE CONTRACT CLAIMS FAIL BECAUSE YPF DID NOT HAVE ANY
        OBLIGATION TO PLAINTIFFS UNDER SECTIONS 7 AND 28 OF THE
        BYLAWS.

        Plaintiffs’ core claims against YPF rest entirely on the assertion that YPF is liable under

the Bylaws because it did not force the Republic to conduct a tender offer or penalize the

Republic for failing to do so. See Ex. 43 (Petersen Complaint) at ¶¶ 41, 71; Ex. 44 (Eton Park

Complaint) at ¶¶ 40, 64; see also ECF No. 49 (“MTD Opp. Br.”) at 16–17. Plaintiffs’ claims fail

for the most basic of reasons: YPF had no contractual obligation to do either of those things.

        As a matter of straightforward contract law, Plaintiffs bear the burden of establishing the

basic elements of their claims for anticipatory and actual breach of contract as to YPF, including:

(i) the existence of a duty or obligation on the part of YPF, (ii) breach by YPF of that duty or

obligation, and (iii) an “adequate” causal link between YPF’s alleged breach and Plaintiffs’

claimed damages. Ex. 27 (Kemelmajer Rebuttal Rep.), at ¶¶ 17(g), 21 (citing Ex. 28 (Rovira

Rep.) at ¶ 11); and Ex. 29 (Garro Rep.) at ¶ 8(a)); see also Ex. 30 (Dep. Tr. of Aída Kemelmajer
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(“Kemelmajer Tr.”)) at 75:16–77:24 (noting YPF cannot be held liable for breach of contract,

either individually or concurrently with another party, in the absence of an underlying

contractual obligation imposed on YPF). Where it is evident that Plaintiffs cannot make the

requisite showing, summary judgment is warranted. Matsushita, 475 U.S. at 587.

       Under Argentine law, analysis of a contract claim begins with the plain language of the

relevant text of the agreement, interpreted in the context of the agreement as a whole. Ex. 30

(Kemelmajer Tr.) at 105:20–24 (noting that it is “fundamental” to “see what the bylaws say and

who the bylaws hold liable”); Ex. 31 (Manóvil Republic Reply Rep.) at ¶¶ 21–22, 37; Ex. 25

(Garro Rebuttal Rep.) at ¶¶ 5, 19; Cf. Starr Indem. & Liab. Co. v. Water Quality Ins. Syndicate,

320 F. Supp. 3d 549, 569 (S.D.N.Y. 2018) (“As a matter of contract interpretation . . . the Court

begins with the plain text of the term at issue.”); W.W.W. Assoc., Inc. v. Giancontieri, 566

N.E.2d 639, 642 (N.Y. Ct. App. 1990) (“[W]hen the parties set down their agreement in a clear,

complete document, their writing should as a rule be enforced according to its terms.”). If a

provision is clear and unambiguous, it should be enforced on its face. See Ex. 54 (Argentine

Commercial Code (“ACC”)) Art. 217 (“The words of contracts and conventions must be

understood in the sense given to them by general usage, even if the obligator claims to have

understood them differently.”); Ex. 54 (ACC) Art. 218 (the literal terms govern, except when

they are ambiguous: “Where it is necessary to interpret a contractual clause, the following bases

shall serve for interpretation: 1) If there is ambiguity in the words, the common intent of the

parties must be sought rather than the literal meaning of the terms. . . .”); see also Ex. 31

(Manóvil Republic Reply Rep.) at ¶ 24 (“[T]his is made clear in the very same commentary on

the code that Prof. Garro cites. In it, Prof. Adolfo Rouillon writes: ‘[T]he starting point of any

interpretative work goes through the literal meaning of the terms used in the contract . . . . The


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rule of literality has been applied by the courts, holding in this regard that ‘when the agreement is

clear and precise it cannot be modified by interpretations based on the spirit of the clauses, the

presumed intention of the parties or purposes sought.’”); see also Ex. 56 (Argentine Supreme

Court of Justice, Mevopal S.A. v. Banco Hipotecario Nacional, 1985) at 307:2216 (“[W]hen the

terms or expressions used in a contract are clear and conclusive . . . one has no option but to

apply them, without the need for additional interpretative work . . . .”); Ex. 55 (Argentine

Supreme Court of Justice, Juan Carlos Sicaro v. YPF, 1991) at 314:366 (following the Mevopal

holding); Ex. 57 (Argentine National Commercial Court of Appeals, Chamber B, Motta v.

Abraxas Construcciones, 1997, La Ley 1998-F) at 283 (“When the agreement is clear and

precise, it cannot be modified by interpretations based on the spirit of the clauses, presumed

intention of the parties or the purposes pursued, since the words themselves correspond to the

reality they designate and, furthermore, as a general rule, they faithfully translate the [parties’]

thoughts.”) (alterations in original). Argentine courts will not import into the contract terms and

obligations that are not there. Ex. 31 (Manóvil Republic Reply Rep.) at ¶¶ 21–22 (under the

rules of interpretation set forth in the ACC, external factors such as the parties’ intent may be

considered “where there is an ambiguity or other difficulty in the terms themselves that makes

reliance on their plain meaning impossible or insufficient,” but “[w]here there is no ambiguity in

the text, these rules do not come into play”); Cf. Law Debenture Tr., 595 F.3d at 468 (“[A]

written agreement that is complete, clear and unambiguous on its face must be interpreted

according to the plain meaning of its terms . . . without the aid of extrinsic evidence.”);

Tomhannock, LLC v. Roustabout Res., LLC, 128 N.E.3d 674, 675 (N.Y. Ct. App. 2019) (same)

(citation omitted). Like New York law, Argentine law does not permit extrinsic evidence to vary




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the clear terms of a written agreement or to create an ambiguity where none exists. The text

governs.

        Argentine law takes particular care to focus solely on the unambiguous text where the

agreement at issue is a set of corporate bylaws. See Ex. 27 (Kemelmajer Rebuttal Rep.) at ¶ 45

(“[T]here is no case in which the Argentine courts have inferred a company’s obligations from

its bylaws”); Ex. 30 (Kemelmajer Tr.) at 159:6–25 and corresponding errata sheet; see also Ex.

31 (Manóvil Republic Reply Rep.) at ¶ 25. Extrinsic evidence of intent is particularly irrelevant

to the interpretation of corporate bylaws because they are not negotiated between counterparties

in a “meeting of the minds” reflecting their agreement, but rather are plurilateral organizational

contracts among multiple parties who change over time—and who were not necessarily present

for, or participants in, the drafting. Ex. 31 (Manóvil Republic Reply Rep.) at ¶¶ 17–19, 25

(explaining that intent is not considered when interpreting a Company’s bylaws); Ex. 30

(Kemelmajer Tr.) at 159:6–25 and corresponding errata sheet (explaining that intention of the

parties is not important when interpreting bylaws because “the parties change, they are

substituted, the original shareholders that existed may not exist anymore and, therefore, the

intention that has been had is not important”).11 Discerning what the Bylaws are intended to




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     Argentine law fundamentally rejects the notion that corporate bylaws can or should be
     enforced by minority shareholders in an action against the company for money damages in
     the way that Plaintiffs are attempting here. See Ex. 27 (Kemelmajer Rebuttal Rep.) at ¶ 18
     (“In my 26-year career as a judge of the Supreme Court of Mendoza, I have never seen a
     case of civil contractual liability based on a company’s supposed breach of its own
     bylaws.”); id. at ¶ 19 (“Professors Rovira and Garro do not point to a single case in which an
     Argentine court has held that a shareholder can sue a corporation for damages based on a
     purported breach of the company’s bylaws.”); Ex. 65 (Kemelmajer Reply Rep.) at ¶ 15
     (footnotes omitted) (“[A] shareholder does not have a cause of action for damages against a
     company based on a breach of contract theory because, under Argentine law, bylaws do not
     create a private right of action for a shareholder to bring damages claims against the
     company for breach of contract. Bylaws cannot be enforced in the same way that bilateral
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mean from sources other than their plain text is neither practical nor appropriate—nor supported

by Argentine law.

       A.      The Bylaws Are Unambiguous and Do Not Impose Any Obligation on YPF to
               Enforce or Compel a Tender Offer, or to Impose Penalties.

       Plaintiffs purport to locate their contract claims against YPF under Section 7 of the

Bylaws, which requires a tender offer to be made in the event of certain “takeovers,” and rely on

Section 28 as extending certain obligations of Section 7 to the Republic. See, e.g., Ex. 43

(Petersen Complaint) at ¶¶ 71, 76; Ex. 44 (Eton Park Complaint) at ¶¶ 64, 69; Ex. 26 (MTD Tr.)

at 3–4, 39–40; ECF No. 49 at 16.

       As to the tender offer provisions, it is undisputed that the Bylaws do not require YPF to

conduct a tender offer. None of Plaintiffs’ experts have contended otherwise, and Plaintiffs

previously acknowledged this point. Ex. 26 (MTD Tr.) at 39:14–15 (“I don’t think the company

has to tender.”). Instead, Plaintiffs contend that Sections 7(d), 7(e) and 7(f) require YPF to force

others to conduct a tender offer, and that Section 7(h) requires YPF itself to prevent stockholders

from, inter alia, voting shares acquired in violation of the tender offer provisions. See Ex. 32

(Rovira Tr.) at 153:25–154:9; Ex. 33 (Garro Tr.) at 362:10–17, 363:7–15; Ex. 28 (Rovira Rep.)

at ¶¶ 28, 61 (asserting that YPF’s obligations were “clearly spelled out in Sections 7 and 28(A)

of the YPF Bylaws.”); Ex. 29 (Garro Rep.) at ¶¶ 17–19 (same). Plaintiffs further contend that

under Section 28 of the Bylaws, these provisions of Section 7 were triggered, in 2012, by the

Republic’s Intervention, temporary occupation, and declaration that 51% of YPF’s Class D

shares held by Repsol were “subject to expropriation.” See Ex. 28 (Rovira Rep.) at ¶¶ 65-68; Ex.

25 (Garro Rebuttal Rep.) at ¶¶ 15-16.


    contracts are enforced.”) (footnotes omitted); Ex. 34 (Manóvil YPF Rep.) at ¶¶ 90–92. That
    fallacy is at the heart of all of Plaintiffs’ claims.

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        Plaintiffs’ contract claims under Sections 7 and 28 of the Bylaws fail for three very

straightforward reasons: (i) the Bylaws are unambiguous and do not impose any of the alleged

obligations on YPF; (ii) Plaintiffs’ experts have conceded that the Bylaws do not expressly

impose any of the alleged obligations on YPF; and (iii) under Argentine law, as under New York

law, the Court cannot go beyond the express terms of the operative agreement to impute

additional and unspecified obligations.

                1.      The Tender Offer Provisions

        As with any contract claim, the starting point for analyzing whether Plaintiffs’ claims

have any merit is the text of the operative agreement—here, Sections 7 and 28 of the Bylaws. To

support their claims against YPF, Plaintiffs point first to Section 7(d), which provides that “[i]f

the terms of subsections e) and f) of this section are not complied with, it shall be forbidden to

acquire shares or securities of the Corporation . . . if, as a result of such acquisition, the purchaser

becomes the holder, or exercises the control of, class D shares of stock of the Corporation”

which together with its prior holdings exceed certain percentages. Bylaws, Section 7(d); see also

Ex. 43 (Petersen Complaint) at ¶ 17; Ex. 44 (Eton Park Complaint) at ¶ 20; ECF No. 49 at 16.

Section 7(d) imposes no obligation on YPF with respect to the acquisition of stock; it specifies

only that a “purchaser” may not exceed the specified thresholds without complying with

subsections 7(e) and 7(f).

        Plaintiffs next rely on Section 7(e), which defines “[t]he person wishing to [sic] a

Takeover” as “the Bidder” and is limited to specifying that “the Bidder” shall do two things: (i)

“[o]btain the prior consent of the special shareholders’ meeting of class A shareholders;” and

(ii) “[a]rrange a takeover bid for the acquisition of all the shares of all classes of the Corporation

and all securities convertible into shares.” Bylaws, Section 7(e); Ex. 26 (MTD Tr.), at 3:24–25,

39:23–40:13. Section 7(e) expressly cautions that the decision of the Class A shareholders
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“regarding the matters provided for in this subsection (e) shall be final and shall not entitle any

of the parties to claim any kind of compensation,” such that no recovery is available in the event

of a rejected bid. Id. Section 7(e) makes no reference to any action to be taken by YPF and

imposes no obligations on YPF.

        The crux of Plaintiffs’ claims against YPF in connection with the tender offer itself is

Section 7(f). See MTD Order I, 2016 WL 4735367, at *15 n.6; Ex. 26 (MTD Tr.) at 3:24–25,

39:23–40:13. That provision lays out the required tender offer procedures. Like Sections 7(d)

and 7(e), Section 7(f) does not impose any relevant obligations on YPF. See Ex. 26 (MTD Tr.)

at 3, 39–40; Ex. 24 (Rovira Rebuttal Rep.) at ¶ 77; Ex. 32 (Rovira Tr.) at 153:25–154:19.

Section 7(f) provides that “[e]ach takeover bid shall be conducted in accordance with the

procedure herein stipulated,”12 and enumerates, in Subsections 7(f)(i)-(ix), the specific

procedures required for the tender offer. Among other things, Section 7(f) specifies that “[t]he

Bidder shall notify the Corporation in writing about the takeover bid at least fifteen business

days in advance to the starting date thereof,” and that “[t]he Corporation shall be notified about

all terms and conditions of any agreement . . . that the Bidder might have entered into or might

intend to enter into” prior to launching the bid. Subsections 7(f)(i)(A)–(G) specify exactly what

the Bidder’s notice to the Corporation must include, Subsections 7(f)(ii)-(iv) provide that, after

the Company receives notice from the Bidder, certain events follow from the receipt of the

Bidder’s notice, including that “the Board of Directors shall call [sic] special meeting of the class


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     Section 28 extends certain of the obligations in Section 7(e) and (f) to the Republic, stating
     that “[t]he provisions of subsections (e) and (f) of Section 7 . . . shall apply to all
     acquisitions made by the National Government [of Argentina], whether directly or indirectly
     . . . if, as a consequence of such acquisition, the National Government becomes the owner,
     or exercises control of, the shares of the Corporation, which . . . represent, in the aggregate,
     at least 49% of the capital stock.” Bylaws, Section 28(A). It is undisputed that 51% percent
     of YPF’s capital stock was subject to expropriation. Ex. 15 (Public Interest Law) at § 7.

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A shares of stock . . . to be held ten business days following the receipt by the Corporation of the

notice,” that “the Corporation shall send by mail” the Bidder’s notice to each shareholder or

holder of securities convertible into stock “at the Bidder’s cost and expense,” and that the Bidder

shall provide such notice, the formula for calculation of the bid, and various other procedures

regarding the duration of the bid, and the conditions for its withdrawal or satisfaction.

       Sections 7(d), (e), and (f) are clear and unambiguous with respect to the tender offer

requirements and impose no obligation on YPF to act in the absence of notice by a Bidder or, on

receipt of notice of a bid, to do anything other than to complete certain narrowly specified

administrative tasks. See Ex. 27 (Kemelmajer Rebuttal Rep.) at ¶ 25 (footnotes omitted)

(“Section 7(f)(iii) only requires YPF to perform an administrative duty of forwarding to

shareholders the acquirer’s tender offer bid notice. There is no provision elsewhere in the

Bylaws (or in Argentine Company Law or Argentine Civil Law) imposing the purported

obligations on YPF.”); see also id. at ¶¶ 26, 32; Ex. 58 (Manóvil YPF Rebuttal Rep.) at ¶ 6

(“YPF’s obligations with regard to the tender offer were exclusively limited to administrative

duties set forth in Section 7(f)(iii) (i.e., forwarding to shareholders the acquirer’s tender offer bid

notice.)”); Ex. 31 (Manóvil Republic Reply Rep.) at ¶¶ 22–23; see also Kirschten v. Research

Institute of America, Inc., No. 94 Civ. 7947 (DC), 1997 WL 739587, at *9–10 (S.D.N.Y. Sept.

24, 1997) (declining to read substantive obligations into a contract where those obligations are

not imposed by the contract’s plain text).

               2.      The “Penalties” Provision

       Plaintiffs’ claim against YPF with respect to Section 7(h)—referred to in Section 28(C)

as the “penalties” provision—is similarly unsupported by the text of the Bylaws. Section 7(h)

provides, inter alia, that: “Shares of stock and securities acquired in breach of the provisions of

subsections 7(c) through 7(g), both included, of this section, shall not grant any right to vote or
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collect dividends or other distributions” and applies to the National Government per Section

28(C). Neither Section 7(h) nor Section 28(C) imposes any obligation on YPF to take any action

with respect to the penalties. Bylaws Sections 7(h), 28(C). The shares acquired exceeding the

established limits are stripped of their voting and certain other rights, but no corporate action by

YPF is specified or required. As Plaintiffs’ expert Professor Garro testified, Section 7(h) “does

not expect the corporation to take explicitly any action.” Ex. 33 (Garro Tr.) at 378:19–23.

       It is the other shareholders, not YPF (the corporate entity), who have a mechanism to

enforce the penalties in Section 7(h), including by challenging resolutions passed during the

relevant shareholders’ meetings. Ex. 27 (Kemelmajer Rebuttal Rep.) at ¶¶ 35–36 (“Enforcement

of the Section 7(h) sanctions is a matter for YPF’s shareholders (not the Company) at the

relevant shareholders’ meeting. . . . [A]ny shareholder who does not vote in favor of the relevant

shareholders’ resolutions (including those not present at the meeting) can challenge the

meeting’s resolutions before Argentine courts pursuant to Article 251 of the [Argentine General

Corporate Law (“GCL”)]”).

       The careful delineation of obligations in Section 7, including each of its tender offer and

penalties subsections, must be read in the context of the Bylaws overall. See Ex. 31 (Manóvil

Republic Reply Rep), at ¶¶ 16–17, 21; Ex. 25 (Garro Rebuttal Rep.) at ¶¶ 5, 31. That broader

reading confirms that when the Bylaws imposed an obligation on YPF—or anyone else—they

did so explicitly, using defined terms. For example, the text is unequivocal that “the Bidder

shall . . . [a]rrange a takeover bid;” “[t]he Corporation shall send” the notice by mail; “[t]he

Board of Directors shall call [sic] special meeting of class A shares of stock.” Bylaws, Section

7(e), 7(f)(ii), (iii). The Bylaws require that “[t]he Board” shall meet at least once a quarter and

that a meeting shall be called by “the Chairman of the Board of Directors,” Bylaws Section 15;


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that “[t]he absolute majority of the board members” shall constitute a quorum; that “[t]he

Board” shall adopt resolutions by a majority vote of the members present, Bylaws Section 16;

and that “[t]he Board of Directors shall have wide powers to organize, conduct and manage the

affairs of the Corporation,” Bylaws Section 17. The Bylaws recognize that many actors play a

role with respect to corporate affairs generally, and the tender offer provisions specifically, and

are careful to specify what those roles are—including as to “the Corporation” itself.

        By consistently and explicitly naming who is obligated to do what, the Bylaws expressly

limit each party’s affirmative obligations to those specified by its terms. See Reiss v. Fin.

Performance Corp., 764 N.E.2d 958, 960–61 (N.Y. Ct. App. 2001); Ex. 27 (Kemelmajer

Rebuttal Rep.) at ¶¶ 26, 32 (noting that obligations “must have a source,” and that the obligations

Plaintiffs seek to impose on YPF have no basis in the text of the Bylaws). If the Bylaws are to

be enforced as a contract—as Plaintiffs contend—the Bylaws should be read as one and limited

to their plain and unambiguous terms. There is no ambiguity here and no basis to infer

obligations that the agreement does not impose.13

        B.     Plaintiffs’ Experts Concede that the Plain Language of the Bylaws Does Not
               Provide a Basis for Their Contract Claims.

        Plaintiffs cannot offer any meaningful response to YPF’s analysis of the Bylaws’ text.

Their experts could not point to any language in Sections 7 or 28 that imposes an obligation on

YPF to conduct, enforce, or compel a tender offer. They acknowledged that the terms of Section

7(e) apply expressly to the Bidder, and require the Bidder—not YPF—to take certain actions.

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     Plaintiffs’ additional allegation that YPF is in breach for “failing to distribute dividends to
     YPF’s shareholders,” Ex. 43 (Petersen Complaint) at ¶ 71; Ex. 44 (Eton Park Complaint) at
     ¶ 64, also fails because it is undisputed that neither the Bylaws nor Argentine law impose an
     obligation on the Company to distribute dividends that have not been authorized for
     payment by a vote of the Company’s shareholders. See Bylaws Section 25(d); Ex. 34
     (Manóvil YPF Rep.) at ¶¶ 131–33. It is undisputed that no such authorization occurred
     between March and November 2012.

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Ex. 32 (Rovira Tr.) at 154:11–155:6; Ex. 25 (Garro Rebuttal Rep) at ¶ 14 (noting that Section

28(A) “extends the requirement of Sections 7(e) and 7(f)” to acquisitions in which the Republic

is a “bidder”). Plaintiffs’ experts have acknowledged that Section 7(f) imposes no affirmative

obligation on YPF other than its limited obligation under Section 7(f)(iii) to forward to YPF

shareholders—at the Bidder’s expense and only after receiving notice—the Bidder’s notice of its

bid. Ex. 33 (Garro Tr.) at 355:13–356:4, 359:10–360:13.

       Although Professors Rovira and Garro assert that YPF was obligated to “ensure

Argentina carried out the tender-offer process,” Ex. 28 (Rovira Rep.) at ¶ 27, or to “ensure that

those willing to take control of the company comply with the tender offer requirement,” Ex. 29

(Garro Rep.) at ¶¶ 17, 19, they cannot and do not point to any actual language in the Bylaws

imposing such an obligation. Professor Rovira relied on Section 7(e), but then acknowledged

that it refers solely to the Bidder, not to YPF, Ex. 32 (Rovira Tr.) at 153:18–155:6, while

Professor Garro admitted that the Bylaws did not “identif[y] the corporation here as a specific

subject of an obligation in 7(f)” other than the limited administrative duty to forward the

Bidder’s notice after receipt, set forth in Section 7(f)(iii), Ex. 33 (Garro Tr.) at 360:21–361:2.

The experts then resorted to generalized obligations untethered to the Bylaws, with Professor

Rovira asserting that YPF had an obligation to “alert[]” the Republic of the tender offer

requirement, Ex. 28 (Rovira Rep.) at ¶ 27, or to “tr[y] to separate itself or distance itself from the

actions carried out by Argentina,” Ex. 32 (Rovira Tr.) at 142:7–10,143:18–25, while Professor

Garro suggested that YPF should have made “a statement” reminding the Republic of the tender

offer requirement. Ex. 33 (Garro Tr.) at 403:12–25. No such obligations appear in the Bylaws

or elsewhere in Argentine law. The Bidder provides notice of its bid to the Company, not the




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other way around. See Bylaws, Section 7(f)(i); see also Ex. 27 (Kemelmajer Rebuttal Rep.) at ¶

25; Ex. 58 (Manóvil YPF Rebuttal Rep.) at ¶ 6.

        The same is true of the Section 7(h) claims. Both Professors Rovira and Garro initially

contended, without textual support, that Section 7(h) “imposed on YPF an obligation to withhold

certain privileges associated with share ownership,” Ex. 28 (Rovira Rep.) at ¶ 27; Ex. 24 (Rovira

Rebuttal Rep.) at ¶ 46; see also Ex. 25 (Garro Rebuttal Rep.) at ¶ 58, but concede, as Professor

Garro put it, that “Section 7(h) does not mention the [corporation] . . . [and] does not expect the

corporation to take explicitly any action.” Ex. 33 (Garro Tr.) at 378:18–23. Under Section 7(h),

a share loses its voting rights when it is acquired without a requisite tender offer, without any

action by YPF.14 To the extent an acquirer nonetheless seeks to vote a share that has been

stripped of its voting rights, other shareholders are free to challenge that action.

        Not a single expert could point to a textual basis in the Bylaws for his view that YPF

itself had direct obligations to Plaintiffs to enforce or compel a tender offer, or penalize any

acquirer for failing to conduct one. It is now beyond dispute that the Bylaws are utterly silent as

to the claimed obligations of YPF. Under Argentine law, unsurprisingly, the utter lack of any

basis in the text of the Bylaws for Plaintiffs’ $20 billion claims against YPF is fatal. Silence is

not ambiguous; it is dispositive that no such obligation exists. The claim should be dismissed.




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     Even assuming YPF had an obligation to prevent the Republic from voting under Section
     7(h), the assertion that YPF is liable for failing to enforce Section 7(h) of the Bylaws, see
     Ex. 28 (Rovira Rep.) at ¶ 27; Ex. 49 (Bianchi Rep.) at ¶¶ 27, 74, is wrong as a matter of law
     because YPF’s management and Board had been displaced by the Intervenor. The
     Intervenor’s actions cannot give rise to liability on the part of the Company. Argentine law
     is clear that “any actions taken by the Republic’s Intervenor in fulfillment of his public
     interest mandate under the Intervention Decree and the Public Interest Law cannot be
     attributed to YPF.” Ex. 59 (Comadira Rebuttal Rep.) at ¶ 18.

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        C.        There Is No Legal Basis for a Claim That YPF Is a Guarantor of Any
                  Obligation of the Republic.

        Any attempt by Plaintiffs to pursue an alternate theory that YPF had an obligation to

guarantee others’ obligations under its Bylaws also fails as a matter of law, because it also has no

basis in the Bylaws or anywhere else in Argentine law. Petersen Energía Inversora, S.A.U. v.

Argentine Republic, No. 16-3303-cv(L), Dkt. No. 80, Brief of Plaintiffs-Appellees (“Petersen

Appeal Br.”) at 5-6 (2d Cir. March 14, 2017) (“[T]he bylaws are plausibly understood to make

YPF a guarantor of Argentina’s obligation to tender. As a party to the bylaws, YPF is equally

liable for the failure to tender.”); Ex. 24 (Rovira Rebuttal Rep.) at ¶ 77 (asserting that YPF serves

as a guarantor); Ex. 25 (Garro Rebuttal Rep.) at ¶ 58; but see Ex. 35 (Rovira Reply Rep.) at ¶ 22

(noting that Plaintiffs do not seek to hold YPF liable as a guarantor); Ex. 36 (Garro Reply Rep.)

at ¶ 18 (same).

        Under Argentine law, for a company to become a guarantor, one of three conditions must

be met: (i) the company expressly agrees to serve as guarantor; (ii) the company takes a

unilateral act that is later ratified by the obligee; or (iii) there is a judicial or statutory mandate

requiring the company to act as guarantor. Ex. 27 (Kemelmajer Rebuttal Rep.) at ¶ 30 (citing the

Argentine Civil Code, Arts. 1986, 1987, 1998).

        The first two possibilities are utterly irrelevant. As to the first, there is no guarantee

provision in the Bylaws and Plaintiffs have conceded that YPF is not an express contractual

guarantor. Ex. 32 (Rovira Tr.) at 132:1–16 (the “responsibility of YPF is not that of a

guarantor”); see also Ex. 34 (Manóvil YPF Rep.) at ¶ 63 (“[T]he Bylaws clearly provide that the

only obligor of the tender offer obligation is the person wishing to acquire a controlling stake in

the Company.”). The second possibility—a unilateral act, later ratified—is irrelevant since no

such act has been claimed or taken. Plaintiffs appear to be relying on the third possibility and

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hoping to argue that some legal mandate compelled YPF to act as guarantor. But expert

discovery has confirmed they have no basis for that theory either. Ex. 27 (Kemelmajer Rebuttal

Rep.) at ¶ 17(b) (“Under Argentine law, a company is not a guarantor of its shareholders’

obligations under the Bylaws.”). Plaintiffs’ experts could not point to a single Argentine statute

imposing liability on a company for a shareholder’s breach of company bylaws, as a guarantor or

otherwise. Instead, they point to a series of GCL provisions that authorize damages claims

against other actors—like a company’s shareholders, directors, and officers—but never against

the company itself. Ex. 35 (Rovira Reply Rep.) at ¶ 42 n.33 (citing GCL Art. 274 (alterations

omitted) (“Directors are unlimited and jointly and severally liable vis-à-vis the company, the

shareholders, and third parties . . . for the breach of the law, the bylaws . . . .”) and GCL Art. 275

(discussing when “[d]irectors and officers liability vis-a-vis the company” can be extinguished),

reproduced at Ex. 37); Ex. 29 (Garro Rep.) at ¶ 11 n.10 (citing GCL Art. 54 (providing for a right

of action against controlling shareholders or directors to vindicate “damage suffered by the

corporation”), GCL Art. 248 (providing for a right of action against a shareholder who votes in

violation of the interests of the corporation), and GCL Art. 279 (allowing a shareholder to bring

individual actions against directors), reproduced at Ex. 37).

       In the absence of any express statutory or judicial guarantee, Plaintiffs’ experts also make

the entirely unsubstantiated claim that generally speaking, “under Argentine law . . . corporations

are required to take affirmative actions to ensure that shareholders abide by the Bylaws.” Ex. 28

(Rovira Rep.) at ¶ 27; see also Ex. 29 (Garro Rep.) at ¶ 17. Although Plaintiffs characterize this

concept as a “well accepted” rule, they again cannot point to a single case, article, law, decree, or

resolution in which it has been adopted and enforced. Professor Rovira conceded that all of the

cases on which he relies involved either tort or fraud claims or claims against directors or


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shareholders, but not against the corporation itself, Ex. 32 (Rovira Tr.) at 75:8–12, 77:11–80:18,

or were failed attempts against a company. Id. at 82:3–10, 82:18: 83:8. Professor Garro

admitted that none of the cases on which he relied involved imposition of liability on the

company for an alleged breach of its bylaws. Ex. 33 (Garro Tr.) at 142:1–19, 143:5–23.

Professors Garro and Rovira conceded that they are not aware of any case in which an Argentine

court did what Plaintiffs are asking this Court to do, and sustained a breach of contract action

against a company directly for alleged breach of its bylaws, much less an alleged breach by one

of its other shareholders. Ex. 32 (Rovira Tr.) at 77:11–81:22; Ex. 33 (Garro Tr.) at 150:1–17; see

also Ex. 30 (Kemelmajer Tr.) at 84:5–13.15 Professor Rovira even suggested that allowing a

shareholder to seek damages against the company as a guarantor would be inconsistent with the

need to “prevent the company and the shareholders from being exposed to the consequences of

the harmful effects” of a shareholder’s non-compliance with the Bylaws. Ex. 32 (Rovira Tr.) at

87:9–88:7.

        As their own experts have conceded, Plaintiffs’ claims are unprecedented,

unsubstantiated, and unsupported by the law. Nothing in the GCL or the cases Plaintiffs cite

requires a company to guarantee performance of obligations owed by its shareholders and


15
     These concessions were necessitated by the holdings of the cases. Professor Garro relies on
     Zullo, Norberto v. Kehoe, Roberto E., et al.; Iraldi et al. v. Godoy; and M.S.M. v. C.M. de T,
     et al., each of which involved a claim against an entity’s directors, board members, or
     shareholders, not against the entity, Ex. 25 (Garro Rebuttal Rep.) at ¶¶ 36 n.53, 37 n.54, and
     on Delvalle Senen v. Constructora Mir S.R.L., et al., concerning an employment agreement.
     Id. at ¶ 36 n.53. Professor Rovira relies on Sichel, Gerardo F. v. Massuh S.A., a case that
     was later revoked and nullified. Ex. 24 (Rovira Rebuttal Rep.) at ¶ 60 n.55. Professors
     Rovira and Garro both purport to rely on Gutiérrez Enedina y Otros v. Neumaticos Gutiérrez
     S.A, which held that “[t]he partner who caused the damage to plaintiff shall be solely liable
     for such damage with the company bearing no liability.” Ex. 38 (Gutiérrez Enedina y Otros
     v. Neumaticos Gutiérrez S.A.) at ¶ 4; Ex. 30 (Kemelmajer Tr.) at 83:4–84:1 (noting that, in
     Gutiérrez, “the court’s decision was to reject the claim against the company”); see also Ex.
     24 (Rovira Rebuttal Rep) at ¶ 60 n.56; Ex. 25 (Garro Rebuttal Rep) at ¶ 36 n.53.

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nothing contemplates that a company could be liable for a shareholder’s alleged non-compliance

with its bylaws. Ex. 27 (Kemelmajer Rebuttal Rep.) at ¶ 32; see also Ex. 34 (Manóvil YPF Rep.)

at ¶¶ 66, 74. That is a sensible and principled limitation on corporate liability that this Court

should not disregard. After all, when a shareholder breaches its obligations under a company’s

bylaws, the company itself “has no way of avoiding or preventing” the harm and in fact may be

harmed itself by the alleged non-compliance. Id. at ¶¶ 79, 128; see also Ex. 27 (Kemelmajer

Rebuttal Rep.) at ¶¶ 32, 46–48. Without any statutory mandate or judicial precedent, Plaintiffs

cannot establish any guarantee on the part of YPF.

II.    PLAINTIFFS CANNOT ESTABLISH THE CAUSAL LINK BETWEEN YPF’S
       CONDUCT AND PLAINTIFFS’ ALLEGED DAMAGES REQUIRED TO
       SUSTAIN THEIR CONTRACT CLAIMS.

       Plaintiffs’ claims should be dismissed for the additional reason that they cannot show that

YPF’s alleged breaches caused them any harm. Any claim for breach of contract under

Argentine law requires not just an obligation on the defendant and its breach, but also a causal

link between that breach and Plaintiffs’ alleged damages. Ex. 27 (Kemelmajer Rebuttal Rep.) at

¶ 46 (to make out a breach of contract claim, Plaintiffs must show that YPF “acted out of its own

will” and that YPF was “able to prevent and avoid” the resulting harm to Plaintiffs); Id. at ¶¶ 62–

65 (explaining that Plaintiffs must show an “adequate causal connection” between YPF’s actions

and Plaintiffs’ alleged harm and that no intervening event or third-party act broke the chain of

causation); Ex. 28 (Rovira Rep.) at ¶ 22 (“Under Argentine law, any contractual claim for civil

liability requires . . . that the breach was the cause of the detrimental effect to the prejudiced

party.”); cf. Nat’l Mkt. Share, Inc. v. Sterling Nat. Bank, 392 F.3d 520, 527 (2d Cir. 2004)

(internal quotations and alterations omitted) (“[A] plaintiff may recover only for damages that

are directly and proximately caused by a defendant’s breach of contract,” so causation is a

“crucial” element of a plaintiff’s case); Bausch & Lomb Inc. v. Bressler, 977 F.2d 720, 731 (2d
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Cir. 1992) (affirming dismissal of breach of contract claim for lack of causation). A motion for

summary judgment against a contract claim should be granted when it is clear on the undisputed

facts that it was not the defendant’s conduct that caused plaintiffs’ claimed injury—or when

defendant demonstrates that plaintiffs lack sufficient evidence to establish causation. See

Lexington 360 Assoc. v. First Union Nat’l Bank of N.C., 234 A.D.2d 187, 190 (N.Y. Sup. Ct.

App. Div. 1st Dept. 1996); see also Ex. 27 (Kemelmajer Rebuttal Rep.) at ¶¶ 62–65.

       After years of litigation, it is beyond dispute that Plaintiffs cannot establish that YPF

caused Plaintiffs’ asserted damages. Their own documents and arguments insist that they were

damaged by the lack of an offer, and payment, that YPF was never obligated to make, and could

not have forced the Republic to make, as Plaintiffs’ own experts concede. Ex. 33 (Garro Tr.) at

403:23–25. YPF cannot be held liable for harm it did not cause and had no means to prevent.

       Plaintiffs cannot show—as they must—that any failure by YPF caused them to suffer

damages resulting from the absence of a tender offer. Ex. 27 (Kemelmajer Rebuttal Rep.) at ¶ 60

(“As a matter of Argentine law, it is Plaintiffs’ burden to prove a causal link between YPF’s

conduct and their alleged damages. . . . Failing to do so is fatal to their claims against YPF.”); id.

at ¶ 78 (“It is clear that neither YPF’s alleged failure to ‘enforce’ the tender offer nor its alleged

failure to apply the Section 7(h) sanctions was an adequate cause of Plaintiffs’ alleged Tender

Offer Damages.”). There is absolutely no evidence in the record to support even an inference,

much less a conclusion, that the Republic would have conducted a tender offer if YPF had

“alerted” the Republic of its purported obligations, attempted to “enforce” the purported

obligations, or “distanced itself” from the Republic’s conduct, or if it had somehow acted to

penalize the Republic pursuant to Section 7(h). Ex. 27 (Kemelmajer Rebuttal Rep.) at ¶ 80

(“YPF had no means of forcing the Republic to offer to purchase the remaining outstanding


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shares for a set price. I am not aware of any legal avenue that the Company could have taken to

compel the sovereign republic to tender to purchase shares in that way, and Plaintiffs have not

identified any.”). Professor Garro, Plaintiffs’ expert, conceded that YPF “could not force

Argentina to do anything,” Ex. 33 (Garro Tr.) at 403:23–25, and no evidence suggests that the

Republic would have made a tender offer if YPF had somehow prevented it from voting the

occupied shares.16

III.      PLAINTIFFS’ SECTION 7(H) “PENALTIES” CLAIM FAILS BECAUSE OF
          THE SUPERSEDING EFFECT OF THE PUBLIC INTEREST LAW.

          Plaintiffs’ breach of contract claim under Sections 7(h) and 28(C) also fails because the

May 2012 Public Interest Law specifically superseded and excused performance of any alleged

obligation to prevent the Republic from exercising the rights associated with the shares subject to

expropriation, including any obligations allegedly imposed by Sections 7(h) and 28(C).

          YPF’s and Plaintiffs’ experts agree that under Argentine law, if there is a conflict

between the rights and obligations imposed by laws passed for the public order and private rights

and obligations, the public order laws supersede and excuse performance of any conflicting

private obligations, including private contractual obligations. Ex. 22 (Comadira Rep.) at ¶¶ 35–

38; Ex. 49 (Bianchi Rep.) at ¶¶ 105–06; Ex. 39 (Dep. Tr. of Alberto Bianchi (“Bianchi Tr.”)) at

16
       The rest of Plaintiffs’ claims against YPF also fail, for straightforward reasons. Plaintiffs’
       claim for anticipatory breach must be dismissed because Argentine law in effect at the time
       did not recognize that as an independent cause of action. Ex. 27 (Kemelmajer Rebuttal
       Rep.) at ¶¶ 154, 156–60; Ex. 23 (Manóvil Republic Rep.) at ¶ 97. In any event, YPF had no
       obligation under the Bylaws that could have been breached, as explained above. Any claim
       against YPF for breach of contract based on its alleged failure to distribute dividends fails
       because no such obligation existed; there was no shareholder vote prior to or during the
       intervention providing for the payment of dividends, which would have been required before
       dividends could have been paid, or required to be paid, under the Bylaws and Argentine law.
       See Bylaws Section 25; SUF ¶¶ 17, 47; Ex. 34 (Manóvil YPF Rep.) at ¶¶ 131–33. Finally,
       Eton Park’s claim for breach of the implied duty of good faith and fair dealing against YPF
       (Count 6) should be dismissed for the same reasons the Court dismissed Petersen’s identical
       claim against YPF. MTD Order I, 2016 WL 4735367, at *15.

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59:17–10 (“There is no possibility to have any such private rights enforced against any public

order laws of this country”). The Argentine legal system has a strict hierarchy of laws, and

under this hierarchy, a private law instrument, such as a company’s bylaws, cannot “contradict,

alter, or render ineffective laws and decrees of ‘public order.’ Nor can they restrict or limit the

State’s powers to promote the public interest and enact public order laws and decrees.” Ex. 22

(Comadira Rep.) at ¶ 40 (footnote omitted) ; see also Ex. 40 (Comadira Tr.) at 58:5–10.

       Article 13 of the Public Interest Law provides in relevant part: “[T]o ensure continuity of

the activities associated with the exploration, production, industrialization and refining of

hydrocarbons by YPF . . . the Argentine Executive Branch. . . shall exercise all of the rights

conferred upon the shares subject to expropriation . . . .” Ex. 15 (Public Interest Law) at § 13

(emphasis added); see Petersen Appeal Br. at 16-17 (under the Public Interest Law, Argentina

would “control YPF” by “exercising the voting rights associated with the expropriated shares”

and “would elect YPF’s directors”). In enacting the Public Interest Law, the Argentine Congress

not only declared that the law was a “public order law,” but also expressly found that temporary

occupation and eventual expropriation of 51% of YPF’s Class D shares held by Repsol was in

the public interest, and commanded the Executive Branch to “exercise all of the rights conferred

upon the shares subject to expropriation.” Ex. 15 (Public Interest Law) at §§ 7, 13, 18; see also

Ex. 27 (Kemelmajer Rebuttal Rep.) at ¶ 93 (“Those rights [referenced in Article 13] clearly

included the quorum, voting and dividend rights—at a minimum—attached to the shares.”).

       The Public Interest Law’s mandate that the Republic “exercise” all of the rights of the

shares stands in direct contradiction with Plaintiffs’ interpretation of Section 7(h) as requiring

YPF to prevent the Republic from exercising the right to vote those same shares. YPF, the

Intervenor, and YPF’s shareholders were required to comply with the Public Interest Law’s


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mandate, and the Public Interest Law superseded and excused any obligation allegedly imposed

on YPF by Section 7(h). Ex. 22 (Comadira Rep.) at ¶ 58 (“YPF cannot be held liable for any

alleged failure to prevent the Republic from exercising the voting or quorum rights associated

with the Shares . . . because . . . Congress—through a public order law—mandated the Republic

to ‘exercise all of the rights conferred by the shares subject to expropriation’ [and] . . . YPF was

legally required to abide by this Congressional mandate”); see also Ex. 39 (Bianchi Tr.) at

93:18–25 (“[L]aws are enforceable and applicable until the [court] declares them to be

unconstitutional.”), 94:12–23 (same); Ex. 30 (Kemelmajer Tr.) at 127:5–128:18. The Bylaws

cannot “restrict or limit the exercise of the State’s powers” pursuant to this declaration by the

Argentine Congress. Ex. 22 (Comadira Rep.) at ¶ 50. Any provision of the Bylaws that “places

an obstacle on the expropriation”, occupation, or intervention “will not be valid or applicable.”

Ex. 39 (Bianchi Tr.) at 64:4–23 and corresponding errata sheet. YPF could not comply with

Article 13 by recognizing the Republic’s mandate to vote the shares while at the same time

complying with Plaintiffs’ view of Section 7(h) that it was required to prevent that same vote.

Any such Section 7(h) obligation must have been superseded and excused, and cannot give rise

to liability. Ex. 40 (Comadira Tr.) at 60:24–25, 61:1–5 and corresponding errata sheet (“if we

assume that Article 7 (h) imposed on YPF the obligation to prevent Argentina from voting its

shares, there is no doubt that public law would have prevailed, and that provision would have

been declared unconstitutional”).

       Nothing in the prior decisions of the Court forecloses granting summary judgment to

YPF on this basis. Whether a commercial obligation on the part of YPF conflicts with, and is

excused by, the Public Interest Law’s grant to the Republic of the right to vote has not previously

been decided. And now, on a complete record, it is evident that “Congress—through a public


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order law—mandated the Republic to ‘exercise all of the rights conferred by the shares subject to

expropriation’ [and] . . . YPF was legally required to abide by this Congressional mandate. . . .”

Ex. 22 (Comadira Rep.) at ¶ 58; see also Ex. 59 (Comadira Rebuttal Rep.) at ¶ 7 (“[A]s a matter

of Argentine Constitutional and Administrative law, it was not permissible to apply the Section

7(h) sanctions to the Republic in the face of Article 13 of the Public Interest Law”); Ex. 27

(Kemelmajer Rebuttal Rep.) at ¶¶ 93-94 (“[e]nforcing the sanctions in Section 7(h) . . . would

have been a direct violation of Article 13 of the Public Interest Law”); see also Petersen, 895

F.3d at 203 (“The YPF Expropriation Law also extended the Intervenor’s control over the firm’s

operations and granted the Argentine executive branch the right to ‘exercise all the political

rights over all the shares subject to expropriation’ until the expropriation, including

compensation of Repsol, was finalized.”).

IV.      PLAINTIFFS HAVE NOT SATISFIED THE NECESSARY REQUIREMENTS
         UNDER ARGENTINE LAW TO BRING A CLAIM FOR DAMAGES AGAINST
         YPF FOR BREACH OF THE BYLAWS.

         Plaintiffs’ claims should also be dismissed because even if Plaintiffs could sue the

Company for breach of the Bylaws—which they cannot, as a matter of law17—any such suit

would first have had to satisfy the GCL prerequisites for other kinds of damages claims under

corporate bylaws. In that counterfactual world where a claim against the Company was possible,

the shareholder would have to first challenge the resolution authorizing the allegedly-wrongful

act pursuant to Article 251. Ex. 23 (Manóvil Republic Rep.) at ¶¶ 101–03 (citing, inter alia,

GCL, Art. 251 (reproduced at Ex. 37)); id. at ¶¶ 110–12; Ex. 34 (Manóvil YPF Rep.) at ¶¶ 80–

81, 83. If the court annuls the resolution in the Article 251 proceeding, then and only then, can a

dissenting shareholder seek compensation under Article 254 of the GCL (although the claim


17
      See supra Part I.C.

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would then run into the limitation that Article 254 does not provide that a shareholder can claim

compensation from the company). See Ex. 37 (GCL) at Arts. 251, 254. A successful Article 251

result is a prerequisite to the claim for money damages.18




                                                                        While other shareholders took

actions in the Argentine courts to protect their rights, Plaintiffs sat on their hands—and then, in

Petersen’s case, sold their claims. See Ex. 21 (Minutes of the July 17, 2012 Meeting of Class A

and D Shareholders); Ex. 22 (Comadira Rep) at ¶ 29; Ex. 23 (Manóvil Republic Rep.) at ¶ 43

n.56. Having failed to properly assert and preserve their claims against YPF under Argentine

law, Plaintiffs cannot pursue them here.

V.      PLAINTIFFS DO NOT HAVE STANDING TO BRING THEIR CLAIMS.

        Plaintiffs lack standing for at least two reasons in addition to their failure to satisfy the

requirements of Article 251. First, they lack standing for the reasons argued by the Republic and

incorporated by reference, that Plaintiffs did not own interests in YPF at the relevant times. See

Republic’s Brief Part I. Second, Petersen’s claims fail because Petersen sold any right it had to

prosecute the claims asserted in this litigation and is not the real party in interest.19 Under Rule


18
     YPF refers to the Republic’s Brief at Part II.A and accompanying paragraphs of the
     Republic SUF and supporting exhibits.
19
     The undisputed facts show: (i) the CPA transfers all of the key elements of ownership to
     Prospect, including the irrevocable and exclusive right to control the Petersen claims and
     any settlement thereof, SUF ¶ 56–62; (ii) this level of control is utterly inconsistent with
     industry best practices and Burford’s own publicly-stated practices, id. ¶ 63–67; and (iii) the
     CPA was intended to be the economic equivalent of a sale of claims. Under Spanish law,
     these facts establish the CPA is a simulated agreement and the true cause of the agreement—
     a sale of claims—must be enforced, with Prospect understood as the legal owner of the
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17, actions “must be prosecuted in the name of the real party in interest,” Fed. R. Civ. P. 17(a)(1)

(emphasis added), and dismissal is appropriate if a reasonable time after an objection, the real

party has not taken the requisite action to “ratify, join, or be substituted into the action.” Fed. R.

Civ. P. 17(a)(3). Defendants objected to Petersen’s standing due to the Burford sale nearly three

years ago—on July 8, 2019—yet neither Prospect nor Burford has satisfied Rule 17. Ex. 61

(ECF No. 98 (“Republic Answer”)) at 26–27. Sufficient time has passed without action that

summary judgment on the Petersen claims is warranted. See, e.g., Nastasi & Assocs., Inc. v.

Bloomberg, L.P., No. 18 Civ. 12361 (JMF), 2021 WL 3541153, at *5–6 (S.D.N.Y. Aug. 11,

2021) (dismissing claims for unreasonable delay); Chrebet v. Cty. of Nassau, No. 09 Civ. 4249

(DRH)(AKT), 2014 WL 1836835, at *21 (E.D.N.Y. May 8, 2014) (internal quotations omitted)

(dismissing where “nearly two-year delay” after notice “does not constitute a ‘reasonable

time’”).

                                          CONCLUSION

         For the foregoing reasons, the Court should grant summary judgment dismissing in their

entirety pursuant to Fed. R. Civ. P. 56 all remaining claims against YPF, namely, the claims for

breach of contract (Petersen, Count 5; Eton Park, Count 4), anticipatory breach (Petersen, count

6; Eton Park, Count 5), and of the implied duty of good faith and fair dealing (Eton Park, Count

6).

Dated: April 14, 2022                               Respectfully Submitted,
       New York, New York
                                                    /s/ Mark P. Goodman
                                                    Mark P. Goodman
                                                    Shannon Rose Selden
                                                    Dietmar W. Prager
                                                    Carl Riehl

      claims. See Ex. 62 (Conthe Rep.) at ¶¶ 95–136. Accordingly, Petersen is not the real party in
      interest.

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